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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Civil Action No.: 23-cv-00415-AP

COLORADO OFF ROAD ENTERPRISE,
MARCUS TRUSTY, in his capacity as president of CORE as well as his individual capacity, and
PATRICK MCKAY, in his capacity as a Board Member of CORE as well as his individual capacity,

       Petitioners,

v.


USDA FOREST SERVICE, an agency of the U.S. Department of Agriculture, and
DIANA M. TRUJILLO, in her official capacity as the Forests and Grasslands Supervisor for the
Pike and San Isabel National Forests, Cimarron and Comanche National Grasslands,

       Respondents.


            SECOND AMENDED JOINT CASE MANAGEMENT PLAN FOR PETITIONS
                         FOR REVIEW OF AGENCY ACTION



        On June 9, 2023, the parties submitted a proposed Amended Joint Case Management
Plan for Petitions for Review of Agency Action. ECF No. 22. The Court has not yet entered a
Case Management Plan for this matter. Since submitting the proposed Amended Joint Case
Management Plan, Respondents filed the Administrative Record, ECF Nos. 23-101, as well as
additional documents completing and supplementing the Administrative Record, ECF Nos. 103-
108. Due to the large Administrative Record and the recent filing of documents to complete and
supplement the Administrative Record, the parties agree that a revised proposed briefing
schedule is warranted. The below sets forth that revised proposed schedule:

       A.      Petitioners’ Opening Brief Due: December 22, 2023; 11,000 words

       B.      Respondents’ Response Brief Due: February 16, 2024; 11,000 words

       C.      Petitioners’ Reply Brief (If Any) Due: March 18, 2024; 4,000 words
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        DATED this _______ day of __________, 20___.



                                                  BY THE COURT



                                                  Robert E. Blackburn
                                                  U.S. District Court Judge

APPROVED:


                                                 TODD KIM
                                                 Assistant Attorney General
                                                 Environment & Natural Resources Division
                                                 U.S. Department of Justice

/s/Kevin R. Garden                               /s/Shaun M. Pettigrew
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